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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

 CHRIS ALLISON, individually and on behalf
 of all others similarly situated,

                 Plaintiff,

 v.                                                 No. 1:18-cv-06960-PKC

 GDS HOLDINGS LIMITED, WILLIAM
 WEI HUANG, AND DANIEL NEWMAN

                 Defendants.

                              NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Chris Allison hereby voluntarily dismisses the

above-captioned action without prejudice. Mr. Allison expressly reserves his rights to participate

as a member of any class later certified related to this action.

                                                    Respectfully submitted,

                                                    /s/ Todd S. Garber
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